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                 IN THEUNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
                              CIVIL DIVISION
 ___________________________________________________________________________

ANTHONY W. PERRY, Pro se                  :
5907 Croom Station Rd.                    :
Upper Marlboro, MD 20772                  :
(301) 928-2305                            :
                                          :
                   Plaintiff,             :
                                          :Civil Action No: 17-cv-1932 (TSC)
            v.                            :
                                          :
WILBUR ROSS, SECRETARY                    :
U.S. DEPARTMENT OF COMMERCE               :
1401 Constitution Ave., N.W.              :
Washington, D.C. 20230,                   :
                                          :
                   et al.                 :
                                          :
                   Defendants.            :
__________________________________________


                    Plaintiff’s Motion For Summary Judgment

      Pursuant to Federal Rules of Civil Procedure 56 and Local Rule 7, I, Plaintiff

Anthony W. Perry respectfully move this Court for a ruling and Order for summary

judgment for Plaintiff on the issue defined by the Court as to “whether the Merit

Systems Protection Board’s (“MSPB”) decision dismissing Plaintiff’s appeal for lack

of jurisdiction should be affirmed by this Court” and summary judgment as to other

claims except the claims defined as “underlying discrimination claim” because

pursuant to the scheduling order, “the court will not entertain arguments on the

“underlying discrimination claim” at this juncture. Accordingly, I did not argue
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disability, race and age discrimination and violations of anti-retaliation provisions

under the respective anti-discrimination laws.

      Plaintiff shall file a separate “Statement of Facts” in support of his Brief for

Partial Summary Judgment.

      For reasons provided in the accompanying documents, statute and law,

Plaintiff is entitled to summary judgment as to the claims allowed at this juncture

as a matter of law.


                                                      Respectfully submitted,




                                                      Anthony W. Perry
